            Case 1:12-cr-00320-LJO-BAM Document 61 Filed 05/09/14 Page 1 of 2


1    BENJAMIN B. WAGNER
     United States Attorney
2    KIMBERLY A. SANCHEZ
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
5

6
     Attorneys for Plaintiff
7    United States of America

8

9                                 IN THE UNITED STATES DISTRICT COURT

10                                      EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                           CASE NO. 1:12-CR-00320 AWI-BAM

13                               Plaintiff,              STIPULATION TO SET CHANGE OF PLEA
                                                         HEARING
14                         v.

15   VICTOR ARTEAGA,

16                               Defendant.

17

18          IT IS HEREBY STIPULATED by and between Benjamin B. Wagner, United States Attorney and

19   Kimberly A. Sanchez, Assistant U.S. Attorney and Kathy Hart, attorney for the defendant, that the change of

20   plea hearing set for May 19, 2014 at 10:00 am before the Honorable Anthony W. Ishii be moved to May 12,

21   2014 at 10:00 a.m.

22          Dated: May 8, 2014                                    Respectfully submitted,

23                                                                BENJAMIN B. WAGNER
                                                                  United States Attorney
24
                                                          By      /s/ Kimberly A. Sanchez
25
                                                                  KIMBERLY A. SANCHEZ
26                                                                Assistant U.S. Attorney

27          Dated: May 8, 2014                                    /s/ Kathy Hart
                                                                  KATHY HART
28                                                                Attorney for Victor Arteaga

      Stipulation                                         1
           Case 1:12-cr-00320-LJO-BAM Document 61 Filed 05/09/14 Page 2 of 2


1
     IT IS SO ORDERED.
2
     Dated: May 8, 2014
3
                                       SENIOR DISTRICT JUDGE
4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      Stipulation                            2
